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                        UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA                    :
                                             :
        v.                                   : MAGISTRATE NO. 21-MJ-469 (RMM)
                                             :
 BRIAN CHRISTOPHER MOCK,                     :
      Defendant.                             :


                         MOTION FOR EMERGENCY STAY AND
                          FOR REVIEW OF RELEASE ORDER

       The United States of America, by and through its Attorney, the Acting United States

Attorney for the District of Columbia, respectfully moves this Court to, first, stay defendant’s

release pending trial, and second, review the decision by the Magistrate Judge from the District of

Minnesota to deny the government’s motion for pre-trial detention.

 I.     BACKGROUND

        A.      Procedural Posture

       On June 11, 2021, defendant Brian Christopher Mock was arrested in his home state of

Minnesota on an arrest warrant issued from the United States District Court for the District of

Columbia by Magistrate Judge Robin M. Meriweather in connection with a Criminal Complaint

charging the defendant with Assaulting, Resisting, or Impeding Certain Officers in violation of

18 U.S.C. § 111(a)(1), Obstruction of Law Enforcement During Civil Disorder in violation of 18

U.S.C. § 231(a), Knowingly Entering or Remaining in any Restricted Building or Grounds

Without Lawful Authority and Disorderly and Disruptive Conduct in a Restricted Building or

Grounds, in violation of 18 U.S.C. §§ 1752(a)(1) and (a)(2), and Acts of Physical Violence in any

of the Capitol Buildings or Grounds in violation of 40 U.S.C. § 5104(e)(2)(F).


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       Following his arrest, the defendant appeared before a U.S. Magistrate Judge in District of

Minnesota and the government moved to detain Mock pursuant to 18 U.S.C. § 3142(f)(2)(B),

which provides for detention in a case that involves a serious risk that a defendant will obstruct

or attempt to obstruct justice, or threaten, injure, or intimidate, or attempt to threaten, injure, or

intimidate, a prospective witness or juror. After a hearing on June 15, 2021, the Magistrate Judge

denied the government’s request for detention and ordered the defendant released with certain

conditions. Following this ruling, the government orally moved to stay the defendant’s release

pending an appeal by the government. The Magistrate Judge granted a 24-hour stay of the release

order, through June 16, 2021 at 2:00 p.m. Central Time (3:00 p.m. Eastern).

       The government appeals that release order here. We also ask this Court to stay the

defendant’s release pending a hearing on this appeal. Jurisdiction over this appeal lies in this Court,

rather than a court in Minnesota, pursuant to 18 U.S.C. § 3145(a)(1) (if a defendant is released by

person other than a judge of the court having original jurisdiction over the offense, an attorney for

the Government may file a motion for revocation of the order in the court of original jurisdiction).

         B.      Statement of Facts

                       i.      Background on January 6, 2021

       On January 6, 2021, a joint session of the United States Congress convened at the United

States Capitol. The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions

around the U.S. Capitol include permanent and temporary security barriers and posts manned by

U.S. Capitol Police. Only authorized people with appropriate identification are allowed access

inside the U.S. Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also closed

to members of the public. During the joint session, elected members of the United States House of

Representatives and the United States Senate were meeting in separate chambers of the United

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States Capitol to certify the vote count of the Electoral College of the 2020 Presidential Election,

which had taken place on November 3, 2020. The joint session began at approximately 1:00 p.m.

Shortly thereafter, by approximately 1:30 p.m., the House and Senate adjourned to separate

chambers to resolve a particular objection. Vice President Mike Pence was present and presiding,

first in the joint session, and then in the Senate chamber.

       As the proceedings continued in both the House and the Senate, and with Vice President

Mike Pence present and presiding over the Senate, a large crowd gathered outside the U.S. Capitol.

As noted above, temporary and permanent barricades were in place around the exterior of the U.S.

Capitol building, and U.S. Capitol Police were present and attempting to keep the crowd away

from the Capitol building and the proceedings underway inside.

       At such time, the certification proceedings were still underway and the exterior doors and

windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol Police

attempted to maintain order and keep the crowd from entering the Capitol; however, shortly after

2:00 p.m., individuals in the crowd forced entry into the U.S. Capitol, including by breaking

windows and by assaulting members of the U.S. Capitol Police, as others in the crowd encouraged

and assisted those acts.

       Shortly thereafter, at approximately 2:20 p.m. members of the United States House of

Representatives and United States Senate, including the President of the Senate, Vice President

Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint session

of the United States Congress was effectively suspended until shortly after 8:00 p.m. Vice

President Pence remained in the United States Capitol from the time he was evacuated from the

Senate Chamber until the sessions resumed.

       During national news coverage of the aforementioned events, video footage which


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appeared to be captured on mobile devices of persons present on the scene depicted evidence of

violations of local and federal law, including scores of individuals inside the U.S. Capitol building

without authority to be there.

                       ii.       Mock assaults two officers on the Lower West Terrace.

         During their investigation of the attack on the Capitol, FBI employees were reviewing

 body-worn camera from January 6 when they observed a man, later identified as Mock,

 assaulting two officers on the Lower West Terrace. Shortly before the assaults, a crowd of

 violent rioters had assembled near the media tower. Law enforcement officers had formed a line

 of bike racks to act as a barrier and were fending off repeated attempts by the rioters to pull on

 the bike racks and assault the officers. The rioters eventually breached the line and swarmed the

 officers, successfully advancing toward the first landing of the Lower West Terrace and

 assaulting several officers.

         Just before 2:30 p.m., Mock shoved a U.S. Capitol Police Officer (Victim 1) to the

 ground while another rioter grabbed Victim 1’s leg. Mock then appeared to kick Victim 1 as he

 lay on the ground. Other rioters continued to assault Victim 1. The following screenshots from

 body-worn camera show Mock in the process of shoving and kicking Victim 1:




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       Shortly after assaulting Victim 1, Mock is on video aggressively shouting at the officers

and pointing at them yelling “Get out! Go!” multiple times:




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       About four minutes after Mock assaulted Victim 1, at 2:34 p.m., the crowd of violent

rioters began advancing further on the Lower West Terrace and cornered police officers.

Another U.S. Capitol Police Officer, Victim 2, was holding a police shield as protection. Mock

shoved Victim 2 to the ground. As Victim 2 was still on the ground, the crowd continued to

advance and assault other officers. The following screenshot depicts Mock’s assault of Victim

2:




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         According to Victim 2, his right elbow hit the ground (see above), causing excruciating

pain at the time of impact, and bruising later. After shoving Victim 2 to the ground, Mock picked

up multiple U.S. Capitol Police riot shields and began to pass them back to the members of the riot

crowd:




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                     iii.    FBI identifies and arrests Mock.

       The FBI posted pictures of Mock, seeking the public’s assistance in identifying him.

They received several tips identifying Mock by name. Several tipsters explained that they had

seen posts on Facebook showing that Mock and his then-girlfriend had traveled to the Capitol

together and attended the riots. Many tipsters submitted screen shots of social media posts of

Mock and his then-girlfriend at the Capitol, including:




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       One tipster submitted a video that shows Mock and his companion on or near what

appears to be the Lower West Terrace of the Capitol. In the video, Mock says something like

“Do you wish to climb the side of this thing?” (referring to the media tower) and “I got maced

three times.” During another part of the video, where Mock and his companion are both in the

frame, the companion states (while smiling) “We just heard Brian made the news” and “I was

pulling the gates away after Brian removed them.”

       The FBI spoke to at least eight people who identified Mock as the person pictured in the

photos and videos above, and two of those individuals know Mock very well. One of them stated

that Mock “went to DC specifically for this. He is home bragging about beating up cops and

destroying property in the capital.” Another witness said that Mock bragged that he “beat the

sh*t” out of a police officer. That witness showed the FBI a text message conversation with

Mock where Mock admitted to his participation in the riots.

       The FBI also obtained Mock’s Facebook posts through a search warrant. Mock’s posts

showed that he planned to engage in violent activity at the Capitol:

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        The FBI arrested Mock on June 11, 2021. At his home, they found the camouflage

hooded sweatshirt, the neck gaiter, and backpack pictured in the screenshots from body-worn

camera, and a car-rental receipt showing travel to the District of Columbia. After his arrest, the

FBI also interviewed the woman who travelled to the District of Columbia with Mock. She told

FBI agents that Mock told her he would “make it bad” for her if she provided any information

to the FBI. When Mock saw the publicly-posted FBI photos of him, he told her something to

the effect of: “I’m warning you, they’re going to be after you too, and if you are the one that

tipped them off you’re going to go down with me.” According to the witness, Mock also told

her that she should not tell anyone about the photos, or he would make her life hell. Mock also

showed up unannounced at her house more than once and harassed her after their breakup.

                i. Pretrial services in Minnesota recommends detention.

        After Mock made his initial appearance in Minnesota, pretrial services in Minnesota

recommended that Mock be detained pending trial, based in part on Mock’s criminal history. Mock

has a 2010 conviction for second-degree dangerous weapon. That conviction resulted from an

incident in which Mock held a gun to three kids’ heads and screamed at them. When a woman tried

to help the kids and stop Mock, he pushed her and called her a “f****** b****.” When police

arrived at Mock’s house, he refused to come out and the SWAT team had to be called. Mock also

told his wife to tell the police that he was with her the whole night.

        C.      Order for Release

        After a detention hearing in the District of Minnesota on June 15, 2021, the Magistrate

Judge ordered Mock released on certain conditions. On that same day, the United States orally

sought a stay pending this Motion for Review. The Magistrate Judge granted the request and

stayed the order for 24-hours, through 2:00 p.m. Central (3:00 p.m. Eastern) on June 16, 2021.


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    II.    ARGUMENT

           A.      This Court has the authority to stay and review the release order.

           Title 18, U.S.C. § 3145(a) states:

                   (a) Review of a release order – If a person is ordered released by a magistrate,
                       …

                            (1) the attorney for the Government may file, with the
                                court having original jurisdiction over the offense, a
                                motion for revocation of the order or amendment of
                                the conditions of release . . .

           The motion shall be determined promptly.

           On the government’s motion to review a release order, this Court considers de novo the

    Magistrate Judge’s denial of pre-trial detention. In its discretion, the Court may proceed to

    rehear the evidence by recalling the witnesses, reviewing transcripts, or by proceeding through

    proffer and argument. It may take additional evidence from new witnesses or consider

    arguments not previously raised. In short, the Court may proceed as best enables it to resolve

    the question posed: whether any condition or combination of conditions will reasonably assure

    the appearance of the person as required and the safety of any other person and the community.

    As the legislative history of the 1984 Bail Reform Act amendments shows:

                   [T]he language referring to the safety of the community refers
                   to the danger that the defendant might engage in criminal
                   activity to the detriment of the community. The committee
                   intends that the concern about safety be given a broader
                   construction than merely danger of harm involving violence. . .

    See S.Rep. No. 225, 98th Cong., 2d Sess. 307, reprinted in 1984 U.S. Code Cong. & Ad.

    News 3182, 3195-3196. 1



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 To that end, it is worthwhile recalling Congress’ intent in 1984 when it enacted the current
version of the Bail Reform Act:

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       The United States seeks detention pursuant to 18 U.S.C. § 3142(f)(2)(B) because this case

involves a serious risk that the defendant will obstruct or attempt to obstruct justice, or will

threaten, injure, or intimidate a prospective witness. In this case, the defendant has already

attempted to intimidate an eyewitness—threatening his ex-girlfriend that he would “make her life

hell” if she gave information to law enforcement. The defendant also has a history of obstruction

in that he instructed his then-wife to lie on his behalf in connection with his 2009 arrest. The

defendant also engaged in obstructive conduct by virtue of his participation in the riots—he was

part of a mob that collectively obstructed the ability of Congress to proceed with the electoral

college vote.

        B.      The factors under 18 U.S.C. § 3142(g) weigh in favor of detention.

       In determining whether there are any conditions or combination of conditions that will

 reasonably assure the appearance of the defendant as required and the safety of any person in

 the community, the Court considers the following factors: (i) the nature and circumstances of

 the offense charged; (ii) the weight of the evidence against the defendant; (iii) the history and



                Many of the changes in the Bail Reform Act reflect the . . .
                determination that Federal bail laws must . . . give the courts
                adequate authority to make release decisions that give appropriate
                recognition to the danger a person may pose to others if released.
                . . . The constraints of the Bail Reform Act fail to grant the Courts
                the authority to impose conditions of release geared toward
                assuring community safety, or the authority to deny release to
                those defendants who pose an especially grave risk to the safety
                of the community. . . . This broad base of support for giving
                judges the authority to weigh risks to community safety in pretrial
                release decisions is a reflection of the deep public concern, which
                the Committee shares, about the growing problem of crimes
                committed by persons on release.

 See S.Rep. No. 225, 98th Cong., 2d Sess. 307, reprinted in 1984 U.S. Code Cong. & Ad. News
 3182, 3486-3487. (Emphasis added.)

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characteristics of the defendant; and (iv) the nature and seriousness of the danger to any person

or the community that would be posed by the defendant’s release. 18 U.S.C. § 3142(g).

                      i.      The Nature and Circumstances of the Offense

      The defendant’s crimes are serious and cannot be viewed in isolation—he was one of

thousands of individuals who descended upon the Capitol on January 6 and threatened the

democratic process. And he wasn’t just a part of the crowd or someone who got caught up in

the moment. He was at the front of the crowd that breached police lines on the Lower West

Terrace. Once that line was breached, he violently attacked two police officers—shoving both

to the ground and kicking one. He didn’t stop there. He picked up riot shields and passed them

into the crowd of violent rioters.

      This Court has outlined specific offense characteristics that serve as guideposts relevant

to assessing the comparative culpability of each defendant in relation to the other rioters. United

States v. Chrestman, No. 21-MJ-218 (ZMF), 2021 WL 765662, at *7 (D.D.C. Feb. 26, 2021).

Almost all of the Chrestman factors put Mock in a more serious category and demonstrate his

dangerousness. First, he has been charged with a felony. Second, he engaged in prior planning

before arriving at the Capitol. As his Facebook posts show, Mock came to the District of

Columbia with the intention of participating in violence and “disrupting the democratic

process.” Id. at *8. He posted that he “went to the Capitol not knowing what to expect but said

goodbye to my 4 children, not sure if I was going to come home.” This statement shows that he

intended to engage in violence, potentially deadly violence. Before the riot, he posted “This was

not the war we wanted. We were content to live our lives in peace…but when thrust upon us we

will fight with the ferocity and righteousness of a thousand angels…Fight back, support those

who do, get the hell out of the way or prepare to defend yourself. There has been a storm brewing


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and it will sweep through this country very soon. Sic Semper Tyrranis!” Mock’s goal was to

fight in a war, and when given the opportunity, he attacked officers in furtherance of that goal.

       Third, Mock encouraged others’ misconduct. He collected riot shields that were dropped

by the multiple officers who were getting attacked, some of whom Mock himself pushed to the

ground. He passed those shields out to others in the violent mob. Mock was also the person who

shoved both Victim 1 and Victim 2 to the ground, paving the way for others to assault them

while they were down. Fourth, his words and movements demonstrated a dangerous hostility to

law enforcement. As this Court has noted, “[g]rave concerns are implicated if a defendant

actively threatened or confronted federal officials or law enforcement…”. Id. Here, Mock did

just that.

       The only two Chrestman factors in Mock’s favor are that there is no evidence he carried

or used a dangerous weapon or coordinated with others beyond the two people with whom he

went to the Capitol. Otherwise, these factors demonstrate just how much Mock’s behavior

stands out compared to the other hundreds of defendants charged in the riot. The nature and

circumstances of his offenses therefore weigh in favor of detention.

                     ii.     The Weight of the Evidence Against the Defendant

       The weight of the evidence weighs in favor of detention. He is on body-worn camera

violently assaulting two officers, passing back riot shields, and yelling at officers. Some of the

clothes he wore in those videos were found at his home. His social media posts confirm he

intended to participate in violence and did participate in violence at the Capitol. His ex-

girlfriend’s social media posts show him at the Capitol. There are at least eight witnesses who

recognized Mock in the videos and/or photos. Multiple witnesses say that Mock bragged about

beating up officers upon his return home. Taken together, this is very strong evidence of guilt.


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                      iii.   The History and Characteristics of the Defendant

      Mock’s most serious criminal conviction is the second-degree dangerous weapon

conviction from 2010. The circumstances of that offense are disturbing and comport with a

pattern of threatening and violent behavior that eventually made its way to the Capitol. Mock

held a gun to three kids’ heads while aggressively questioning them, believing that one of them

started a fire at his house. When a bystander attempted to intervene on behalf of the kids, Mock

pushed her and called her a “f****** b****.” Mock’s history combined with the present offense

shows that he is willing to shove just about anybody within the wide range of people who fall

between complete strangers and federal law enforcement officers. He is a danger to the

community.

      Moreover, when Mock returned home from assaulting those children, he told his wife to

tell the police he was with her all night. While these events were admittedly over ten years ago,

Mock’s behavior in the current case follows a similar pattern. In a similar manner, he threatened

the woman who went to the Capitol with him to try to stop her from providing information to

the FBI. Knowing she was a witness to his criminal acts, he threatened to make things bad for

her and make her life hell. That makes three women (the bystander, his ex-wife, and the woman

who went to the Capitol with him) that Mock has threatened, injured, or intimidated. The

chances are therefore high that he will continue to do so.

      Mock also has two convictions for disorderly conduct, both from 2010. He is charged

with disorderly conduct on the Capitol Grounds as well—even further establishing a long-held

pattern of failing to follow the law. This factor weighs in favor of detention.

                      iv.    The Nature and Seriousness of the Danger to any Person or the
                             Community

      Mock’s actions at the Capitol alone make him a serious risk of danger to the community.

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The D.C. Circuit has drawn a distinction between violent and non-violent participants in the

Capitol riots, with the former being in a “different category of dangerousness.” United States v.

Munchel, 991 F.3d 1273, 1284 (D.C. Cir.), judgment entered, 844 F. App’x 373 (D.C. Cir. 2021)

(emphasis added). In fact, the court in Munchel specifically named those who assaulted police

officers as falling into the category of elevated dangerousness. Id. Other courts in this district

have made the same observation: “Indeed, if any crime establishes danger to the community and

a disregard for the rule of law, assaulting a riot-gear-clad police officer does.” United States v.

Fairlamb, No. 1:21-CR-120-RCL, 2021 WL 1614821, at *5 (D.D.C. Apr. 26, 2021). Mock’s

release poses both a danger to the community and a danger to the witness he has already

threatened. This factor weighs in favor of detention.




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 III.    CONCLUSION

        For the reasons explained here, the United States respectfully requests that the Court

review the Minnesota Magistrate Judge’s decision to release defendant Brian Mock. The United

States further requests that the Court stay the release order and schedule a hearing for such review,

and order instead that he be held without bond pending trial.



                                        Respectfully submitted,

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